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                         IN THE UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                       )
                                               )
       Plaintiff,                              )
                                               )`
v.                                             )        Case No. 21-cr-00003 (RCL)
                                               )
JACOB ANTHONY CHANSLEY,                        )
                                               )
       Defendant.                              )

                                     NOTICE OF HEARING
       COMES NOW Defendant, by and through his undersigned counsel, and hereby gives

  notice that he will call up his Motion Of Defendant, Jacob Anthony Chansley, For Pretrial

  Release for hearing on March 5, 2021 at 10:00 AM.

                                       Respectfully Submitted,

                                       KODNER WATKINS, LC


                                        By:___/s/ Albert S. Watkins________________
                                            ALBERT S. WATKINS, LC DC#399625
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                                            Clayton, Missouri 63105
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                                  CERTIFICATE OF SERVICE
        Signature above is also certification that on February 24th, 2021, a true and correct copy of
the foregoing was electronically filed with the Clerk of the Court utilizing the CM/ECF system
which will send notification of such filing to all parties of record.




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